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                          UNITED STATES DISTRICT COURT

                          SOUTHERN DISTRICT OF INDIANA

                               INDIANAPOLIS DIVISION


 KARL TRAHAN, Individually and on Behalf :     No. 1:16-cv-03161-SEB-TAB
 of All Others Similarly Situated,         :
                                           :   CLASS ACTION
                               Plaintiff,  :
                                           :   AMENDED COMPLAINT FOR
         vs.                               :   VIOLATIONS OF THE FEDERAL
                                           :   SECURITIES LAWS
 INTERACTIVE INTELLIGENCE GROUP, :
 INC., GENESYS TELECOMMUNICATIONS :
 LABORATORIES, INC., GIANT MERGER :            DEMAND FOR JURY TRIAL
 SUB INC., GREENEDEN LUX 3 S.ÀR.L.,        :
 GREENEDEN U.S. HOLDINGS I, LLC,           :
 GREENEDEN U.S. HOLDINGS II, LLC,          :
 DONALD E. BROWN, MITCHELL E.              :
 DANIELS, EDWARD L. HAMBURG,               :
 MICHAEL C. HEIM, MARK E. HILL and         :
 RICHARD A. RECK,,                         :
                                           :
                               Defendants. :
                                           :
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         Lead Plaintiff Karl Trahan (“Plaintiff”), individually and on behalf of all other persons

 similarly situated, by his undersigned attorneys, alleges: (i) violations of Section 14(a) of the

 Securities Exchange Act of 1934 (the “Exchange Act”), 17 U.S.C. §78n(a), and Rule 14a-9

 promulgated thereunder, 17 C.F.R. 240.14a-9; (ii) and violations of Section 20(a) of the Exchange

 Act, 17 U.S.C. §78t(a). Plaintiff’s allegations are based upon personal knowledge as to Plaintiff and

 Plaintiff’s own acts, and upon information and belief as to all other matters based on the

 investigation conducted by and through Plaintiff’s attorneys, which included, among other things, a

 review of U.S. Securities and Exchange Commission (the “SEC”) filings, as well as other publicly

 available information.

                                 SUMMARY OF THE ACTION
         1.     This is a stockholder class action brought on behalf of the holders of Interactive

 Intelligence Group, Inc. (“Interactive” or the “Company”) common stock against Interactive, its

 Board of Directors (the “Board”), Genesys Telecommunications Laboratories, Inc., a California

 corporation (“Parent”), Giant Merger Sub Inc., an Indiana corporation and a direct, wholly owned

 subsidiary of Parent (“Merger Sub”), Greeneden Lux 3 S.àR.L., a societe a responsabilite limitee

 under the laws of Luxembourg (“Lux 3”), Greeneden U.S. Holdings I, LLC, a Delaware limited

 liability company (“Holdings I”), and Greeneden U.S. Holdings II, LLC, a Delaware limited liability

 company (“Holdings II,” and with Parent, Merger Sub, Lux3, and Holdings I, “Genesys”).

         2.     On August 31, 2016, Interactive and Genesys announced that they had entered into an

 Agreement and Plan of Merger (the “Merger Agreement”), under which Genesys would acquire all

 of the outstanding shares of Interactive common stock in an all-cash transaction worth $60.50 per

 share in cash, or a total of approximately $1.4 billion (the “Acquisition”). The Acquisition was

 completed on December 1, 2016.

         3.     The Acquisition was conditioned on, among other things, approval by a majority of

 shares of Interactive’s common stock. Defendant Donald E. Brown (“Brown”), Interactive’s

 longtime Chairman of the Board, Chief Executive Officer, and President, owned 17.1% of the

 Company’s stock and agreed to vote his shares in favor of the Acquisition. Moreover, the rest of the

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 Board and Interactive’s remaining officers, who collectively owned another 2.4% of the Company’s

 outstanding stock, were also expected to vote in favor of the Acquisition. Accordingly, only 37.9%

 of Interactive’s independent stockholders needed to vote “YES” in order for the Acquisition to be

 approved.

         4.     Interactive’s insiders, including notably defendant Brown, had a strong financial

 interest in ensuring that the Acquisition went through, as they stood to earn a substantial payout from

 unvested and vested (but illiquid) equity holdings, and the Company’s management stood to receive

 additional special consideration flowing from lucrative post-close arrangements with Genesys.

         5.     To induce the Company’s minority stockholders into supporting the Acquisition,

 Interactive filed a materially misleading Schedule 14A Proxy Statement (the “Proxy Statement”)

 with the SEC on October 4, 2016, thus violating the federal securities laws governing stockholder

 communications.

         6.     First, the Proxy Statement was materially misleading because its presentation of
 Interactive’s purported financial projections deceived stockholders as to the Company’s true

 prospects. Specifically, the Proxy Statement touted financial projections that forecast the last few

 months of 2016 as well as 2017 and 2018. The Proxy Statement also touted financial analyses

 performed by Union Square Advisors LLC (“Union Square”), Interactive’s financial advisor, that

 used the 2016-2018 financial projections to perform a discounted cash flow (“DCF”) analysis. By

 disclosing projections only through 2018 – regardless of whether any longer-range projections

 existed – Defendants concealed the fact that Interactive expects explosive growth to occur well

 beyond 2018 due to the functional superiority, scalability, and profitability of its recently launched

 PureCloud Platform (“PureCloud”). The truncated disclosure implies that Interactive’s business is

 expected to level off after 2018, which is objectively and subjectively false.

         7.     Second, the Proxy Statement was also materially misleading because it included only
 an enterprise-level summary of Interactive’s financial projections and failed to provide any

 information about the Company’s specific lines of business. The Company’s business includes (i) an

 on-premises, all-in-one omnichannel customer engagement software suite, (ii) a single-tenant, all-in-

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 one omnichannel customer engagement cloud service, and (iii) PureCloud, but the businesses feature

 markedly different financial attributes and radically different growth profiles.        Specifically,

 PureCloud is a high-margin business that was launched only recently, and it promises tremendous

 growth well into the future. By contrast, Interactive’s other businesses involve lower margins and

 are expected to dwindle both as new customers gravitate toward PureCloud and as existing

 customers migrate over to PureCloud.

         8.     Third, the Proxy Statement is also misleading because it deceptively touts Union
 Square’s financial analyses, namely, its DCF analysis, as supporting the Board’s assertion that the

 Acquisition was fair. Union Square utilized the perpetuity growth rate, as opposed to the terminal

 multiple method, in performing its DCF analysis, and this objectively wrong. Both the Board and

 Union Square were fully aware of the Company’s growth potential beyond 2018, yet they relied on

 an approach that assumes that the projections period (2016-2018) reflects normalized growth. The

 Proxy Statement is also misleading because the DCF used financial projections that the Board and

 Union Square knew did not accurately reflect the Company’s growth potential.

         9.     By peddling financial projections and financial analyses that did not accurately depict

 Interactive’s potential (and which the Individual Defendants knew did not accurately depict the

 Company’s potential), Defendants misled Interactive stockholders into voting for the Acquisition in

 violation of the federal securities laws. Indeed, Defendants deceived Plaintiff and the Class as to

 Interactive’s true value and precluded the Company’s stockholders from casting an informed vote on

 the Acquisition. Interactive’s stockholders were damaged as a result of Defendants’ misconduct

 because the materially misleading Proxy Statement caused stockholders to support a transaction that

 provided inadequate value for their shares of Interactive common stock.

                                 JURISDICTION AND VENUE
         10.    This Court has jurisdiction over the subject matter of this action pursuant to Section

 27 of the 1934 Act for violations of Sections 14(a) and 20(a) of the 1934 Act and SEC Rule 14a-9

 promulgated thereunder.



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         11.    This Court has personal jurisdiction over all Defendants because they are all either a

 corporation that conducts business in and maintains operations in this District, or an individual who

 has sufficient minimum contacts with the State of Indiana so as to render the exercise of jurisdiction

 by this Court permissible under traditional notions of fair play and substantial justice.

         12.    Venue is proper in this District pursuant to 28 U.S.C. §1391 because Interactive’s

 headquarters are located at 7601 Interactive Way, Indianapolis, Indiana, and Defendants include

 persons who are believed to reside in this District.

                                              PARTIES
         13.    Plaintiff was at all relevant times a stockholder of Interactive.

         14.    Defendant Interactive is an Indiana corporation headquartered in Indianapolis,

 Indiana. Interactive was a signatory to the Merger Agreement.

         15.    Defendant Parent is a California corporation headquartered in San Francisco,

 California. Genesys was a signatory to the Merger Agreement.

         16.    Defendant Merger Sub is an Indiana corporation and a direct, wholly owned

 subsidiary of Parent.

         17.    Defendant Lux 3 is a societe a responsabilite limitee under the laws of Luxembourg.

 Lux 3 was a signatory to the Merger Agreement.

         18.    Defendant Holdings I is a Delaware limited liability company. Holdings I was a

 signatory to the Merger Agreement.

         19.    Defendant Holdings II is a Delaware limited liability company. Holdings II was a

 signatory to the Merger Agreement.

         20.    Defendant Brown was the co-founder of Interactive and at all relevant times served as

 Interactive’s Chairman, President, CEO, and a member of the Board.

         21.    Defendant Mitchell E. Daniels (“Daniels”) served as a member of the Board from

 2015 through the completion of the Acquisition.

         22.    Defendant Edward L. Hamburg (“Hamburg”) served as a member of the Board from

 2004 through the completion of the Acquisition.

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         23.     Defendant Michael C. Heim (“Heim”) served as a member of the Board from 2007

 through the completion of the Acquisition.

         24.     Defendant Mark E. Hill (“Hill”) served as a member of the Board from 2004 through

 the completion of the Acquisition.

         25.     Defendant Richard A. Reck (“Reck”) served as a member of the Board from 2005

 through the completion of the Acquisition.

         26.     Defendants Brown, Daniels, Hamburg, Heim, Hill, and Reck are collectively referred

 to as the Board or the Individual Defendants.

                                 CLASS ACTION ALLEGATIONS
         27.     Plaintiff brings this action individually and as a class action pursuant to Federal Rule

 of Civil Procedure 23 on behalf of all public holders of Interactive common stock who are being and

 will be harmed by defendants’ actions described below (the “Class”). Excluded from the Class are

 defendants herein and any person, firm, trust, corporation, or other entity related to or affiliated with

 any defendants.

         28.     This action is properly maintainable as a class action under Federal Rule of Civil

 Procedure 23.

         29.     The Class is so numerous that joinder of all members is impracticable. According to

 Interactive’s SEC filings, as of the close of business on September 30, 2016, the record date for

 stockholders voting on the Acquisition, there were 22,326,212 shares of Interactive common stock

 issued and outstanding.

         30.     There are questions of law and fact which are common to the Class, including:

                 (a)     Whether the Proxy Statement misrepresented or omitted material information;

                 (b)     Whether, as a result of the materially false or misleading or inadequate Proxy

 Statement, Defendants have acted in violation of Section 14(a) of the Exchange Act, 17 U.S.C.

 §78n(a), and Rule 14a-9 promulgated thereunder, 17 C.F.R. §240.14a-9;

                 (c)     Whether the Individual Defendants are liable as control persons under Section

 20(a) of the Exchange Act, 17 U.S.C. §78t(a);

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                (d)       Whether Genesys is liable as a control person under Section 20(a) of the

 Exchange Act, 17 U.S.C. §78t(a);

                (e)       Whether any of Defendants aided and abetted any of the foregoing violations

 of the Exchange Act; and

                (f)       Whether the Class has suffered damage and is entitled to any relief as a result

 of Defendants’ violations of the federal securities laws.

         31.    Plaintiff’s claims are typical of the claims of the other members of the Class, and

 Plaintiff is not subject to any atypical defenses.

         32.    Plaintiff is an adequate representative of the Class, has no interests adverse to the

 Class, is committed to fairly and adequately protecting the interests of the Class, and has retained

 competent counsel experienced in litigation of this nature.

         33.    This action is maintainable under Rule 23(b)(1) and (3) of the Federal Rules of Civil

 Procedure. The prosecution of separate actions by individual members of the Class would create the

 risk of inconsistent or varying adjudications that would establish incompatible standards of conduct

 for defendants, or adjudications that would, as a practical matter, be dispositive of the interests of

 individual members of the Class who are not parties to the adjudications or would substantially

 impair or impede those non-party Class members’ ability to protect their interests. Moreover,

 questions of law or fact common to class members predominate over any questions affecting only

 individual members, and a class action is superior to other available methods for fairly and

 efficiently adjudicating the controversy.

                                  SUBSTANTIVE ALLEGATIONS
 Interactive’s Business

         34.    Interactive is an Indianapolis-based company that was founded in 1994 and provides

 unified business communications solutions for call centers, enterprise IP telephony, and business

 process automation. Backed by a 20-plus year history of industry firsts, 150-plus pending patent

 applications, and more than 6,000 global customer deployments, Interactive offers customers fast

 return on investment, along with robust reliability, scalability, and security. It is also the only

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 company recognized by the top global industry analyst firm as a leader in both the cloud-based and

 on-premises customer engagement markets.

         35.    For much of its existence, Interactive provided “on-premises” solutions to help call

 centers manage their communications. Under this regime, telecommunications software was setup

 and administered on the premises of the call center, which gave the customer control over its

 software but also required more time and expense to start up. Interactive established itself as a key

 player in this field through its Customer Interaction Center® (“CIC”) business.

         36.    As business and technology began to take advantage of the Internet, Interactive

 launched various cloud-based offerings, including through its Communications as a ServiceSM

 (“CaaS”) business. Customers seeking to resolve a problem or learn about products and services

 have increasingly turned to websites, online messaging, chats, and other relatively new methods of

 communicating with a business.

         37.    As the Company explained in its 2013 Annual Report, filed with the SEC on a Form

 10-K on March 12, 2014: “Given the growing availability and use of cloud services, some call

 centers are finding it more cost-effective to make the transition to multichannel contact center

 functionality via the cloud, since on-premises equipment and integrations costs are minimized or

 eliminated with cloud solutions.” According to Interactive, advantages of its cloud-based systems

 over more traditional on-premises systems included increased flexibility (including scalability),

 faster deployment, minimal upfront capital expense, and reduced IT staff requirements.

         38.    On June 3, 2014, Interactive announced that it was developing PureCloud, a next

 generation cloud communication platform that would include various services to address unified

 communications and contact center markets. As the press release announcing PureCloud explained:

         The PureCloud suite of application services is based on new distributed cloud
         architecture built atop Amazon Web Services. It’s designed to provide rapid
         deployment, maximum reliability, and unlimited scalability, while connecting
         customers and employees in new, more efficient ways.
         “Many of the current cloud-based communications offerings are far from enterprise-
         grade,” said Dr. Donald E. Brown, Interactive Intelligence founder and CEO. “Most
         of them leave their customers dead in the water if Internet connectivity is lost or the
         service itself is interrupted. PureCloud, however, was designed to handle the
         scalability, reliability and security needs of the largest global organizations.
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         “With PureCloud, organizations also have the option to deploy Edge devices within
         their networks that enable them to continue to operate even if the Internet is
         unavailable, and also to keep voice traffic on their networks rather than passing it
         over the public Internet.”

                                              *         *    *

         “We’re now unique in that we can offer customers a mature, premises-based
         solution, as well as both single-tenant and multitenant cloud services,” Brown said.
         “Our aim is to provide everything organizations need for communications,
         collaboration, and customer engagement, in whatever way they want it delivered.”
         39.     On January 7, 2015, Interactive announced that it had released the first in many

 services to be delivered from the Company’s PureCloud system. The inaugural service, PureCloud

 DirectorySM, was designed to increase productivity and enhance collaboration by enabling

 employees to quickly find, connect, and communicate with the right person with the right set of

 skills at the right time.

         40.     As of the January 2015 initial rollout, PureCloud was available only in North

 America and only in English, French, and Spanish.

         41.     Interactive thereafter worked to rollout PureCloud in other languages and in other

 geographies, including Australia and New Zealand (as of April 2015), Europe (September 2015),

 and Japan (March 2016). The Company has also had a limited launch of PureCloud in Latin

 America. As of when the Acquisition was announced, Interactive had not yet launched PureCloud in

 the vast majority of Latin American, the Middle East, Africa, and anywhere in Asia beyond Japan,

 but the Company had plans to continue expanding PureCloud’s footprint.

         42.     In addition to expanding its geographic and linguistic reach, Interactive has also

 continued rolling out various services related to PureCloud throughout the remainder of the year.

 Interactive launched PureCloud CollaborateSM and CommunicateSM services on or about March 16,

 2016, and PureCloud EngageSM on or about June 9, 2015. Moreover, given the versatility of the

 PureCloud platform, Interactive has stated that it can and will continue to develop and release new

 functions for the PureCloud platform on an ongoing basis. Defendant Brown stated during a

 February 1, 2016 conference call, “And on the product side, it’s full steam ahead.” In a conference



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  call held later that year, Brown touted numerous other new capabilities that had been, or was

  expected to be, delivered to PureCloud customers.

          43.     The Company’s PureCloud business is already a major success story, and it promises

  tremendous long-term growth. So much has Interactive backed PureCloud to succeed that, as of

  January 1, 2016, PureCloud would be the focal point of Interactive’s business.

          44.     Interactive made clear that it was not winding up its legacy businesses (including on-

  premises and older cloud offerings). Brown stated on an August 3, 2015 conference call that,

  although the focus would be on PureCloud: “all the while we’ll continue to enhance our CIC

  battleship for organizations preferring a premises-based private cloud alternative.”

          45.     Nonetheless, despite Interactive’s continued commitment to the legacy businesses,

  they do not offer a potential for growth comparable to PureCloud. Indeed, PureCloud boasts huge

  growth potential as well as favorable business attributes (high margins and easy scalability and, thus,

  high profitability).

          46.     During a conference call August 3, 2015, Brown touted the Company’s ambitions

  with respect to PureCloud:

          We’re really excited about these client services and think they represent a game
          changing approach that will shake the industry. We’ve designed them to be very fast
          to deploy and easy to configure with little or no customization. We’ve also designed
          them to be very profitable to operate which should allow us to enjoy gross margins
          once they ramp up.

                                                *       *       *

          Make no mistake about our ambitions for PureCloud – we’re aiming to handle
          everything from small organizations wanting to sign up online with the credit card to
          global companies looking for the most advanced set of customer engagement and
          communications solutions on the market . . . .

          47.     Brown has amplified those sentiments in subsequent conference calls. As he stated

  on February 1, 2016:

          It’s important for our investors to understand that we’re attacking the entire range of
          the customer engagement market with PureCloud. We believe we can effectively
          meet the needs of organizations that have five contact center agents or 50,000. . . .
          PureCloud more than doubles our addressable market compared to our previous
          product offerings.
          48.     Brown added during the same call:
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          Overall, we feel that we’ve greatly enhanced our already enviable competitive
          position with PureCloud. We built our own technology for speech recognition,
          quality monitoring, workforce management, Web co-browsing, video collaboration,
          social media monitoring, and telco services. We can – we believe we can package
          all of these functionality at price points that our competitors can’t touch, deploy it
          in timeframes that they can’t match, and yet do so at 70 to 80 point margins that
          will make us nicely profitable in the years ahead. . . . We believe we have a unique
          offering in PureCloud, which will allow us to crush the competition, while
          continuing to amass high growth recurring revenue. . . . Again, PureCloud is a game-
          change for our industry, and we’re excited for 2016 and beyond. We are ready to
          drive this opportunity home and dominate our industry.
          49.     Brown also addressed PureCloud during another earnings conference call held on

  May 2, 2016:

          We are in the early stages of disrupting the customer engagement marketplace with
          PureCloud by, one, making the traditional procurement and contracting process an
          afterthought, two, providing low cost, quick installation packages to get cusomters up
          and running, and, three, continuing to add new PureCloud features at a rapid clip. . . .
          The positive feedback we’ve received from prospects and customers smaller and
          large is proving that PureCloud is a game changer for our industry and we are
          excited for 2016 and beyond.
          50.     Beyond its own well-founded ambitions, Interactive has received extensive validation

  from the market about the superiority of its PureCloud platform.

          51.     On March 10, 2016, Interactive received awarded Cloud Computing magazine’s 2015

  Product of the Year Award. The press release announcing the award stated in pertinent part:

                  Interactive Intelligence Has Won Cloud Computing Magazine’s 2015
                                    Product of the Year Award
          Interactive Intelligence PureCloud EngageSM honored for its reliability, scalability,
          security and simplicity

          . . . Interactive Intelligence Group Inc., a global leader of cloud services for customer
          engagement, communications and collaboration, has won Cloud Computing
          magazine’s 2015 Product of the Year Award for PureCloud EngageSM.
          Cloud Computing magazine’s Product of the Year Award honors vendors with the
          most innovative, useful, and beneficial cloud products and services.
          PureCloud EngageSM is an omnichannel customer engagement cloud service that
          helps contact centers accelerate business impact, deliver consistent outcomes, and
          innovate the customer and agent experience. It’s delivered from the Interactive
          Intelligence PureCloudSM platform – the first cloud platform based on microservice
          architecture designed for multi-use cases: customer engagement, communications
          and collaboration.

          “We selected PureCloud EngageSM as a Product of the Year based on its innovative
          microservice architecture running atop Amazon Web Services,” said TMC CEO Rich
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          Tehrani. “Its comprehensive set of services running on a single platform also helps
          customers break down the silo between business users and contact center agents,
          and even between enterprises and their partners and customers.”
          “We built PureCloud EngageSM to get customers up and running in days or weeks
          instead of months,” said Interactive Intelligence CMO Jeff Platon. “To help
          customers stay competitive, we also made sure that it could deliver value faster
          through a continuous development process that offers new functionality weekly. We
          also got rid of long-term contracts. Customers can go month-to-month with
          absolutely no strings attached. This makes PureCloud EngageSM an extremely low-
          risk proposition with the potential for dramatic business impact.”
          PureCloud EngageSM includes rich contact center functionality, such as omnichannel
          routing, advanced speech-enabled interactive voice response (IVR), call recording,
          quality management, outbound and predictive dialing, reporting, CRM integrations,
          and graphical scripting. Its communications and collaboration functionality includes
          IP PBX capabilities, chat, video conferencing, corporate directory, desktop sharing,
          and content management.

          52.      On April 13, 2016, Interactive announced the receipt of its second award in as many

  months-Frost & Sullivan’s 2016 North American Cloud Contact Center Visionary Innovation

  Leadership Award. The press release announcing the award stated in pertinent part:

              Interactive Intelligence Receives Frost & Sullivan’s North American Cloud
                       Contact Center Visionary Innovation Leadership Award
          Interactive Intelligence receives award for visionary innovation and performance of
          its latest cloud solution, PureCloudSM

          . . . Interactive Intelligence Group Inc., a global leader of cloud services for customer
          engagement, communications and collaboration, has received Frost & Sullivan’s
          2016 North American Cloud Contact Center Visionary Innovation Leadership
          Award.

          Frost & Sullivan selected Interactive Intelligence for the award based on the
          visionary innovation and performance of its latest cloud solution, PureCloudSM.
          PureCloud’sSM unique microservice architecture running on Amazon Web Services
          enables companies to deploy in days, while offering continuous delivery of the most
          innovative customer engagement features. In addition to rich customer engagement
          features, PureCloudSM offers business communications and collaboration
          functionality.

          According to the report, “Interactive Intelligence has produced a winner with the
          strategy behind the design of PureCloud. Its rapid scalability, flexibility, ease of
          use, and affordability address key needs in the market. With its strong overall
          performance and potential to increase its market presence with PureCloud,
          Interactive Intelligence has earned Frost & Sullivan’s 2016 Visionary Innovation
          Leadership Award for Cloud Contact Centers.”

          The Frost & Sullivan North American Cloud Contact Center Visionary Innovation
          Leadership Award is given to a single vendor based on how it performs against key
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          competitors in the following areas: company culture, vision alignment, technological
          sophistication, a focus on unmet needs, growth performance, and growth pipeline.

          Commenting on Interactive’s technological sophistication, the report states:
          “PureCloud brings significant technological advantages to the market. PureCloud
          was architected as a set of stateless, independently load-balanced microservices
          running atop the scalable Amazon Web Services Cloud. This architecture was
          designed to achieve new levels of reliability, security and scalability. PureCloud also
          integrates easily with third-party applications using REST APIs.”

          The report also commends Interactive Intelligence for making it easy to purchase
          PureCloudSM. “The company took a number of steps to make it easy and affordable
          to adopt PureCloud. It created a subscription plan that enables customers to pay
          monthly for what they use, with no commitment and no hidden fees at competitive
          prices. It also implemented an online ordering process that enables organizations to
          purchase directly from the company’s website, and lets customers change their
          subscription at any time.”

          53.    Moreover, the Company has recently announced positive financial results. On

  August 1, 2016, Interactive reported total revenues of $108.8 million in the second quarter of fiscal

  year 2016 (ended June 30, 2016), representing a 13% year-over-year increase when compared to the

  $96.3 million reported in the same period of the previous year. Additionally, Interactive reported a

  43% increase in cloud subscriptions, from $21.9 million in the second quarter of 2015 to $31.3

  million.

          54.    Commenting on these results, defendant Brown stated:

          “PureCloud is happening . . . . One number - 204 - the number of newly licensed
          PureCloud® customers in the quarter, tells much of this story. We had 24 PureCloud
          customers at the end of last year. Six months later we had well over 300. This rapid
          growth reflects the considerable interest and demand we’re seeing from both small
          and large businesses across all our major geographic markets. This growth also
          happened with the strong support and involvement of our partners, who accounted
          for 37% of this quarter’s PureCloud deals.”

           . . . “Our solid top-line results in the quarter were driven by the combination of 43%
          growth in cloud subscriptions and strong on-premises sales. In addition to a very
          large transaction that contributed significantly to our on-premises performance, we
          added another 37 new CIC customers in the second quarter for a total of six deals
          over $1.0 million. Our top-line growth resulted in a better than expected bottom
          line, and we continued to generate positive operating cash flow in both the second
          quarter and first half of this year.”

          . . . “Looking forward, we believe we remain very well positioned to gain market
          share and become the leader in the customer engagement market. As the only
          vendor in Gartner’s “leaders” quadrant for both cloud and on-premises contact center
          solutions, we’re uniquely capable of providing this robust technology that
          organizations of any size, in any industry, anywhere in the world, can implement in
          any way. Our commitment to innovation will continue in all phases of our business,
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          from our new flexible licensing and pricing models and accelerated approach to
          solutions implementation, to, of course, our industry-leading product development.”
          55.      Then on September 8, 2016, the Company announced that it had received its third

  award in 2016, Frost & Sullivan’s North American Cloud Customer Contact Center Applications

  Growth Excellence Leadership Award. The press release announcing the award stated in pertinent

  part:

              Interactive Intelligence Receives Frost & Sullivan’s North American Cloud
                Customer Contact Center Applications Growth Excellence Leadership
                                                 Award
               Interactive Intelligence receives award for its industry-leading growth in the
                  cloud contact center applications market, competitive and feature-rich
                                capabilities, and excellent customer support

          . . . Interactive Intelligence Group Inc., a global leader of cloud services for customer
          engagement, communications and collaboration, has received Frost & Sullivan’s
          2016 North American Cloud Customer Contact Center Applications Growth
          Excellence Leadership Award.

          According to the award report, Frost & Sullivan selected Interactive Intelligence for
          “its industry-leading growth in the cloud contact center applications market,
          competitive and feature-rich capabilities, and excellent customer support.”

          The report highlights Interactive’s growth strategy, and particularly its latest cloud
          solution, PureCloud®, which has accelerated that growth: “With PureCloud, the
          company has introduced a full-featured contact center and business communications
          offering that is simple, scalable, and affordable. Indeed, the company priced this
          offering to disrupt the market.”

          PureCloud is a public cloud offering based on microservice architecture and built
          atop the scalable Amazon Web Services Cloud. Interactive Intelligence also offers a
          private cloud solution, Communications as a ServiceSM (CaaS).

          The report states that Interactive’s growth is sustained because of its healthy
          roadmap of product enhancements in the pipeline: “The company continues to
          address current customer requirements and unmet needs through continual
          development of its CaaS, private cloud platform, and PureCloud.”

          Commending Interactive for its customer ownership experience, the award report
          states, “From the outset, when businesses start to work with Interactive Intelligence,
          the company strives to understand the breadth of business needs, matching them with
          its contact center capabilities, but also the greater business. The company’s cloud
          platforms enable customers to also utilize its breadth of telephony and UCC
          applications, and content management capabilities, which are fully integrated across
          platforms.”

  The Process Leading Up to the Acquisition
          56.      The process that ultimately led to the Acquisition began way back in 2011.
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          57.    In December 2011, Interactive engaged Union Square to advise and provide its

  perspectives on a variety of topics, including potential mergers and acquisitions, the capital markets

  environment, and other strategic alternatives.

          58.    Shortly thereafter, Interactive’s Board directed Union Square to engage in strategic

  partnership discussions with various partners, including Genesys.

          59.    From March 2012 to May 2012, meetings and discussions were held involving

  Interactive Intelligence, Union Square, Genesys and Permira Advisers LLC (“Permira”), the

  majority owner of Genesys. Interactive and Genesys even executed a mutual non-disclosure

  agreement on May 15, 2012, which facilitated confidential communications and the exchange of

  sensitive, non-public information.

          60.    On June 19, 2012, Genesys submitted a preliminary indication of interest to acquire

  Interactive Intelligence for $38.00 per share.

          61.    The Board did not accept Genesys’ first offer. Nonetheless, informal discussions

  were thereafter held from time to time between Genesys and Permira, on the one hand, and

  Interactive Intelligence and Union Square, on the other hand, regarding a potential transaction.

          62.    In mid-2015, Interactive and Genesys resumed serious conversations about a potential

  deal. Specifically, on May 5, 2015, Brown met with Genesys’ CEO to discuss a potential merger.

          63.    Over the course of the next 15 months, representatives of Interactive and Genesys

  held numerous discussions about a potential merger. During those negotiations, Interactive

  effectively conveyed a price ceiling by suggesting that any offers had to exceed $60 per share.

          64.    In August 2016, after it had previously submitted an offer of $62 per share, Genesys

  offered to buy the Company for $60.50 per share. The Board promptly accepted, and Interactive and

  Genesys finalized definitive documentation.

  The Acquisition
          65.    On August 31, 2016, Interactive and Genesys announced that they had entered into

  the Merger Agreement, under which Genesys, through Parent and Merger Sub, would acquire all of



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  the outstanding shares of Interactive common stock for $60.50 per share in cash. In total, the

  Acquisition implied an equity value of approximately $1.4 billion.

          66.    Interactive’s financial advisor in connection with the Acquisition was Union Square,

  which has an extensive relationship with Permira and which earned approximately $17.5 million in

  connection with the Acquisition.

          67.    The Acquisition was conditioned on, among other things, approval by a majority of

  Interactive’s outstanding shares.

          68.    On October 4, 2016, Interactive filed the Proxy Statement, which announced that the

  stockholder vote on the Acquisition would occur at the Company’s headquarters located at 7601

  Interactive Way, Indianapolis, Indiana 46278, on Wednesday, November 9, 2016 at 9:00 a.m. The

  Proxy Statement also contained a recommendation from the Board that Interactive stockholders vote

  “FOR” the Acquisition.

          69.    On November 9, 2016, Interactive filed a Form 8-K with the SEC, announcing that a

  majority of the Company’s outstanding shares had been voted in favor of Acquisition.

          70.    On December 1, 2016, the Acquisition was completed.

  The Proxy Statement Was Materially Misleading and Inadequate
          71.    In violation of the federal securities laws, Defendants filed and/or authorized or

  caused the filing of a Proxy Statement that was materially false and misleading. More specifically,
  as detailed herein, the Proxy Statement was materially misleading because it deceived Interactive

  stockholders regarding the Company’s prospects.

          72.    First, the Proxy Statement was materially misleading because its presentation of
  Interactive’s outlook, as quantified by the financial projections on page 48 of the Proxy Statement,

  deceived stockholders as to the Company’s true prospects.

          73.    The Proxy Statement disclosed a set of financial projections – labeled “Certain

  Interactive Intelligence Unaudited Prospective Financial Information” – that were created by

  Interactive’s management for calendar years 2016 through 2018. The Proxy Statement does not

  detail when the financial projections were created. Given the timing of the Acquisition, however,

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  these financial projections included only the last six months of 2016. Thus, only 2.5 years were

  forecast by the 2016-2018 financial projections disclosed in the Proxy Statement. These financial

  projections assumed significance in the Board’s purported deliberations, and they were also

  significant in stockholders’ evaluations of the Acquisition.

          74.    The Proxy Statement stated that the Board deemed the Acquisition “advisable and in

  the best interests of Interactive Intelligence and its shareholders . . . .” Elsewhere, the Proxy

  Statement similarly stated, the Board “determined that the transactions contemplated by the merger

  agreement are fair to, advisable and in the best interests of Interactive Intelligence and its

  shareholders and resolved to recommend that Interactive Intelligence shareholders vote in favor of

  the proposal to approve the merger agreement.” In support of the Board’s purported conclusion, the

  Board cited, among other things:

                The value represented by the merger relative to other alternatives Interactive
                 Intelligence might pursue, taking into account:

                        the board of directors’ and the Independent Committee’s understanding of
                         Interactive Intelligence’s business, historical and current financial
                         performance, operating environment, management team, operations and
                         competitive dynamics in Interactive Intelligence’s industries and markets,
                         including their impact on Interactive Intelligence’s future prospects; and

                        the risks and uncertainties associated with continuing to operate as an
                         independent public company, including with respect to succession planning
                         and the execution of Interactive Intelligence’s strategic plan (particularly
                         the difficulties associated with Interactive Intelligence’s transition as an
                         independent public entity to becoming a leading provider of cloud solutions),
                         and Interactive Intelligence’s likely ability and timeframe to achieve
                         valuations superior to the proposed transaction.
          75.    The Proxy Statement also explained on page 47 that:

          The updated forecasts were used as the basis for the financial analyses summarized
          below and presented to the Independent Committee of the board of directors and the
          Interactive Intelligence board of directors by Union Square, which we refer to as the
          Forecasts. The Forecasts were also provided to the Interactive Intelligence board of
          directors and to interested parties in connection with the interested parties’ due
          diligence review of a possible transaction.

          76.    The Proxy Statement also touted financial analyses performed by Union Square

  described on pages 48-57 of the Proxy Statement, including DCF, which is summarized on page 55



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  and 56 of the Proxy Statement and is widely recognized as the preeminent valuation analysis.

  Specifically, the Proxy Statement provides that the Board considered important:

          [T]he oral opinion of Union Square, subsequently confirmed in writing, that as of
          August 30, 2016, and based upon and subject to the assumptions made, procedures
          followed, matters considered and qualifications and limitations on the scope of
          review undertaken by Union Square as set forth in the written opinion, the merger
          consideration to be received by the holders of shares of Interactive Intelligence
          common stock (other than excluded shares) pursuant to the merger agreement was
          fair, from a financial point of view, to such holders . . . .

          77.    These statements, viewed in conjunction with the financial projections, render the

  Proxy Statement materially misleading.

          78.    By disclosing projections only through 2018 – regardless of whether any longer-range

  projections existed – Defendants concealed the fact that Interactive expects explosive growth to

  occur well beyond 2018 due to the functional superiority, scalability, and profitability of its recently

  launched PureCloud. The truncated disclosure implies that Interactive’s business was expected to

  level off after 2018, which is objectively and subjectively false.

          79.    Interactive’s public statements about the development of PureCloud demonstrate that

  it has long-term potential and, moreover, that the Company itself contemplates PureCloud as having

  long-term commercial sustainability. Specifically, the Company announced in June of 2014 that it

  had already invested considerable R&D resources into developing PureCloud. Moreover, the startup

  approach that Interactive took to develop PureCloud show that the Company contemplated a very

  long-term return on investment.

          80.    As defendant Brown stated during a February 1, 2016 conference call:

          As you know, we’ve made significant investments to develop this entirely new cloud
          platform. We weren’t content with being a niche player in the communications
          market and decided to take an audacious step. We gave our architects and designers
          the green light to start over from scratch and build the most advanced set of cloud
          based communications services on the market. That effort culminated in the release
          of PureCloud in the middle of last year.

          81.    More recent statements by the Company also demonstrate that the 2016 to 2018

  projections period misleadingly conceals the Company’s long-term prospects.

          82.    For example, the Company has repeatedly stated that it recognizes revenues from

  PureCloud on a deferred basis, meaning that the growth in PureCloud customer are not reflected in
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  the Company’s financial results until much later. In fact, during an August 1, 2016 conference call,

  Interactive Chief Financial Officer Ashley Vukovits cautioned: “Please remember that the real

  revenue effect of even or higher than expected PureCloud sales will not be seen until 2017, and

  beyond.”

          83.    The Company has also stated that, despite PureCloud’s early success, the platform is

  only in its infancy, and that the true potential will not be realized until well into the future. On

  August 1, 2016, Brown stated, “We’re in the early stages of disrupting the customer engagement

  marketplace with PureCloud . . . .”

          84.    The Board knew that the business would continue to develop well beyond 2018

  because of all of the Individual Defendants except Daniels have served on the Board since the

  initiation of PureCloud’s development. Moreover, all of the Individual Defendants have served on

  the Board since January 1, 2016, when the Company (presumably with Board authorization) decided

  to make PureCloud the focal point of Interactive’s business. Further, the Proxy Statement’s

  discussion of the background of the Acquisition demonstrates the Board’s knowledge of the

  Company’s long-term strategic plan.

          85.    Specifically, the Proxy Statement discloses that a Board meeting occurred on

  November 8, 2015 during which the Board cited a commitment to Interactive’s “strategic plan” as a

  reason for not accepting an offer that Genesys had made shortly before that meeting. According to

  the Proxy Statement, the Board also discussed Interactive’s strategic plan at a regularly scheduled

  meeting held on May 19, 2016.

          86.    Members of the Board also reviewed the strategic plan during June and July of 2016,

  according to the Proxy Statement. Accordingly, the Board was fully aware that Interactive’s

  strategic plan extended well beyond 2018, so the Board knew that presenting a truncated version of

  Interactive’s future provided a misleading view of the Company’s prospects.

          87.    Further, Union Square has advised the Board since 2011, and on page 49 of the Proxy

  Statement provides that Union Square did numerous things to become familiar with the Company’s

  business, including, among other things:

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          (i) Reviewed certain publicly available financial statements and other business and
          financial information of Interactive Intelligence;

          (ii) Reviewed certain internal financial statements and other financial and operating
          data concerning Interactive Intelligence;

          (iii) Reviewed certain financial projections and forecasts prepared by Interactive
          Intelligence management (see “– Certain Interactive Intelligence Unaudited
          Prospective Financial Information”);

          (iv) Reviewed certain financial projections and forecasts prepared by Wall Street
          research analysts regarding Interactive Intelligence; and

          (v) Discussed the past and current operations and financial condition of Interactive
          Intelligence, as well as the prospects of Interactive Intelligence, with senior
          executives of Interactive Intelligence.

          88.    In sum, Interactive has consistently discussed the extensive investment in R&D

  required for the launch of PureCloud. The Company has also declared that it would be continuing to

  expand PureCloud’s geographic reach as well as the applications available for use within the

  PureCloud platform. Interactive has also stated that, unlike its other offerings, revenue from

  PureCloud will not be recognized until well after the Company records a sale. Moreover, the same

  month the Merger Agreement was signed, Interactive has stated that PureCloud is still in its “early

  stages.” Accordingly, to espouse a set of financial projections that ends just two years later

  unnecessarily cuts short the Company’s outlook and deceives stockholders into believing that what

  was presented in the Proxy Statement adequately describes the Company’s long-term prospects.

  This renders the Proxy Statement materially misleading.

          89.    Second, the Proxy Statement was also materially misleading because it included only
  an enterprise-level summary of Interactive’s financial projections and failed to provide any

  information about the Company’s specific lines of business.

          90.    Specifically, under the heading Certain Interactive Intelligence Unaudited Prospective

  Financial Information,” the Proxy Statement discloses on page 48 Interactive’s forecasts, as created

  by the Company’s management, for revenue, adjusted EBITDA, depreciation, capitalized software,

  adjusted EBIT, amortization of intangibles, share-based compensation, EBIT, and unlevered free

  cash flow. These figures are given only for Interactive as a whole, at the broader enterprise level.

  No detail is provided for any of the Company’s individual businesses, nor is there any way to
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  ascertain from any other information in the Proxy Statement the prospects of the different

  components of the business.

          91.     The Proxy Statement’s presentation of enterprise-level forecasts, devoid of any

  information about the Company’s specific business components, misled stockholders into believing

  that each of Interactive’s businesses will grow at comparable levels, but that is false and misleading.

          92.     The Company’s business includes (i) an on-premises, all-in-one omnichannel

  customer engagement software suite (CIC), (ii) a single-tenant, all-in-one omnichannel customer

  engagement cloud service (CaaS), and (iii) PureCloud. The three businesses feature markedly

  different financial attributes and radically different growth profiles. Presentation of Interactive’s

  business as a singular, monolithic entity conceals the markedly different prospects for each of the

  Company’s business lines.

          93.     Specifically, as alleged above, PureCloud is a high-margin business that was launched

  only recently, and it promises tremendous growth well into the future.

          94.     By contrast, Interactive’s other businesses involve lower margins and are expected to

  dwindle both as new customers gravitate toward PureCloud and as existing customers migrate over

  to PureCloud. Indeed, numerous customers – more, in fact, than expected – have already

  transitioned from Interactive’s lower margin products over to the highly profitable PureCloud, and

  the Company has publicly stated that it hopes that other legacy customers continue to transition over

  to PureCloud.

          95.     Accordingly, because of the disparate potential for profit across Interactive’s business

  lines, as well as the fact that the distribution of customers across businesses is changing and will

  continue to change, the Company should have disclosed its financial projections by product line. By

  not doing so, Defendants misled stockholders about the true nature of Interactive’s prospects for

  growth.

          96.     Third, the Proxy Statement is also misleading because it deceptively touts Union
  Square’s financial analyses, namely, its DCF analysis, as supporting the Board’s assertion that the

  Acquisition was fair. As stated above in paragraph 75, the Board expressly cites Union Square’s

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  opinion as a reason for determining that the Acquisition was fair to Interactive stockholders. And on

  pages 55 and 56 of the Proxy Statement, Union Square’s DCF analysis is summarized in high-level

  fashion. However, as disclosed on page 55, Union Square utilized the perpetuity growth rate, as

  opposed to the terminal multiple method, in performing its DCF analysis, and this objectively

  wrong.

           97.    Both the Board and Union Square were fully aware of the Company’s extraordinary

  growth potential beyond 2018, yet they relied on an approach that assumes minimal growth beyond

  2018. In particular, Union Square applied perpetuity growth rates ranging from 3.5% to 4.5%, but

  PureCloud’s meteoric growth profile belies applying such a conservative growth rate.

           98.    Union Square should have used the terminal multiple method, which is more suitable

  when companies such as Interactive have not yet reached a steady-state level of growth.

           99.    The Proxy Statement is also misleading because the DCF used financial projections

  that the Board and Union Square knew did not accurately reflect the Company’s growth potential,

  for the reasons discussed above.

           100.   Because Union Square provided, and the Board touted, misleading financial analyses,

  the Proxy Statement is, thus, materially false and misleading.

           101.   Interactive, the Board, and Genesys are all responsible for the filing of the materially

  misleading Proxy Statement. Interactive filed it, the Board authorized its filing and provided the

  false and misleading purported reasons for the Acquisition, and Genesys all but controlled its

  contents. Under Section 5.4 of the Merger Agreement, Interactive had to prepare the Proxy

  Statement “in consultation” with Parent. Moreover, the Company was obligated to give Parent the

  opportunity to comment on the Proxy Statement, and Interactive had to consider any comments

  made by Parent concerning the Proxy Statement. The Merger Agreement also required Interactive to

  involve Parent in any communications it might have with the SEC concerning the Proxy Statement.




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  Interactive Stockholders Were Harmed as a Result of Defendants’ Misconduct
          102.      Plaintiff and the rest of the Class members were harmed as a result of approving the

  Acquisition in reliance upon the materially misleading and deficient Proxy Statement. Indeed,

  Defendants disseminated the Proxy Statement as a means of depriving Interactive stockholders

          103.      The Acquisition appears to be timed to take advantage of a temporary decrease in

  profits in the Company’s business, as it has recently and now successfully gone through a transition

  to move its products to the cloud and, specifically, the revolutionary PureCloud system. Indeed, any

  reduction in bottom-line financials (i.e., operating and net profit/loss) is due solely to the recent

  uptick in R&D spending, which was done to launch PureCloud and which the Company has already

  stated will decline now that PureCloud has officially launched.

          104.      The Acquisition also provided outsized benefits to Genesys. As highlighted in the

  press release announcing the Acquisition:

                    (a)    Acquiring Interactive would allow Genesys “to Create the World’s Premier

  Omnichannel Customer Experience Company”;

                    (b)    The Acquisition “Extends [Genesys’] Global Market Leadership and Product

  Portfolio”; and

                    (c)    “This transaction will accelerate Genesys’ ability to execute on its mission of

  powering the world’s best customer experiences at scale, anytime, anywhere – over any channel, in

  the cloud and on-premise.”

          105.      The Acquisition is also the product of a fundamentally unfair process that was

  designed to ensure the sale of Interactive to Genesys on terms preferential to Genesys and

  Interactive’s Board members and management, but detrimental to Plaintiff and other Interactive

  shareholders. The process leading to the Acquisition was tainted by conflicts, tilted toward Genesys

  and driven by Interactive’s Board and executive management, who collectively own more than 4.8

  million shares of Interactive stock. For the Board and Company management, the Acquisition

  provides a liquidity event for their large illiquid Interactive holdings. If the Acquisition closes,



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  members of the Board and Company management will receive over $292 million from their sale of
  their shares of Interactive stock.

          106.   The Acquisition also sold stockholders short while providing Interactive’s officers

  and directors with millions of dollars in special payments – not being made to ordinary shareholders

  – for currently unvested stock options, performance units, and restricted shares, all of which shall,

  upon the merger’s closing, become fully vested and exercisable.              The Company’s senior
  management is also entitled to receive from the Acquisition over $20.9 million in change-of-control

  payments. Moreover, the Company’s management appears to be staying on board for the long term

  after the Acquisition. As reported in the press release announcing the Acquisition, Interactive’s

  senior management team was expected to remain with the new organization after the Acquisition

  was completed.

          107.   The Acquisition is also unfair because it resulted from a process that was

  fundamentally flawed and unfair. While the Board conducted what appeared to be a “process,” they

  breached their duties in a number of ways, and in two that are significant. First, in July 2016, the

  Board directed its financial advisor to send potential bidders a process letter that, among other

  things, advised bidders that its bottom line was $60.00 per Interactive share. By so doing, rather

  than maximizing stockholder value, the Board capped whatever stockholders could hope to receive.

  It is certainly no surprise then that the final price the Board accepted was a wholly inadequate $60.50

  per share. Second, on July 19, 2016, Genesys submitted its preliminary indication of interest at

  $62.00, but ultimately dropped that bid back down to $60.00 per share. Rather than insisting on

  $62.00 per Company share or higher, the Board members capitulated and took the $60.50 per share

  Genesys ultimately offered out of their own selfish liquidity interests.

          108.   The Acquisition price of $60.50 per share is also unfair, as the Board failed to obtain

  maximum value and adequately compensate shareholders. The Acquisition price of $60.50

  represents a miniscule 7% premium to the closing price of Interactive common stock on the day

  before the deal was announced. According to Yahoo! Finance, at least one analyst has set a price



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  target for Interactive stock at $67.00 per share. In the last three years, Interactive common stock

  traded as high as $81.59 per share on March 4, 2014.

          109.   Adding to the unfairness of the Acquisition – and suggesting conflict on the part of

  Brown and overreaching on the part of Genesys – is the fact that Genesys secured from Brown a

  commitment to support the Acquisition. Specifically, on August 30, 2016, Brown and Genesys

  entered into a voting and support agreement (the “Voting Agreement”), under which Brown agreed

  to vote all of his shares in support of the Acquisition.

                                               COUNT I

               Against the Individual Defendants and Interactive for Violations of
              Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated Thereunder
          110.   Plaintiff repeats and realleges each allegation as if fully set forth herein.

          111.   SEC Rule 14a-9, 17 C.F.R. §240.14a-9, promulgated pursuant to Section 14(a) of the

  Securities Exchange Act of 1934, provides:

          No solicitation subject to this regulation shall be made by means of any proxy
          statement, form of proxy, notice of meeting or other communication, written or oral,
          containing any statement which, at the time and in the light of the circumstances
          under which it is made, is false or misleading with respect to any material fact, or
          which omits to state any material fact necessary in order to make the statements
          therein not false or misleading or necessary to correct any statement in any earlier
          communication with respect to the solicitation of a proxy for the same meeting or
          subject matter which has become false or misleading.

          112.   Defendants prepared, reviewed and/or disseminated the false and misleading Proxy

  Statement which failed to disclose material facts necessary in order to make the statements made, in

  light of the circumstances under which they were made, not misleading.

          113.   As stated herein, the Proxy Statement contained untrue statements of material facts

  and omitted to state material facts necessary to make the statements that were made not misleading

  in violation of Section 14(a) of the 1934 Act and SEC Rule 14a-9 promulgated thereunder, which the

  Proxy Statement was an essential link in the consummation of the Acquisition. Defendants have

  also failed to correct the Proxy Statement and the failure to update and correct false statements is

  also a violation of Section 14(a) of the 1934 Act and SEC Rule 14a-9 promulgated thereunder.



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          114.    The written communications made by the defendants described herein constitute

  violations of Rule 14a-9 and §14(a) because such communications are materially false and/or

  misleading and were provided in at least a negligent manner.

          115.    As a direct result of Defendants’ negligent preparation, review, and dissemination of

  the false and/or misleading Proxy Statement, Plaintiff and the class were induced to vote their shares

  and accept inadequate consideration of $60.50 per share in connection with the Acquisition. The

  false and/or misleading Proxy Statement used to obtain shareholder approval of the Acquisition

  deprived plaintiff and the class of their right to a fully informed shareholder vote in connection

  therewith and the full and fair value for their Interactive shares. At all times relevant to the

  dissemination of the materially false and/or misleading Proxy Statement, defendants were aware of

  and/or had access to the true facts concerning Interactive’s true value, which was far greater than the

  $60.50 per share Interactive’s shareholders received. Thus, as a direct and proximate result of the

  dissemination of the false and/or misleading Proxy Statement defendants used to obtain shareholder

  approval of and thereby consummate the Acquisition, Plaintiff and the class have suffered damage

  and actual economic losses (i.e., the difference between the price Interactive shareholders received

  and Interactive’s true value at the time of the Acquisition) in an amount to be determined at trial.

          116.    The omissions and false and misleading statements in the Proxy Statement are

  material in that a reasonable shareholder would have considered them important in deciding how to

  vote on the Acquisition. In addition, a reasonable investor would view a full and accurate disclosure

  as having significantly altered the “total mix” of information made available in the Proxy Statement

  and in other information reasonably available to shareholders.

          117.    By reason of the misconduct detailed herein, the defendants are liable pursuant to

  §14(a) of the 1934 Act and SEC Rule 14a-9 promulgated thereunder.

                                               COUNT II

                  Against the Individual Defendants, Parent, Merger Sub, Lux 3,
              Holdings I and Holdings II for Violation of Section 20(a) of the 1934 Act
          118.    Plaintiff repeats and realleges each allegation set forth herein.


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          119.   The Individual Defendants acted as controlling persons of Interactive within the

  meaning of §20(a) of the 1934 Act.

                 (a)     By virtue of their positions as officers and/or directors and/or controlling

  shareholders of Interactive, and/or their participation in and/or awareness of the Company’s

  operations and/or intimate knowledge of the false statements contained in the Proxy Statement filed

  with the SEC, the Individual Defendants had the power to influence and control and did influence

  and control, directly or indirectly, the decision-making of the Company, including the content and

  dissemination of the various statements which plaintiff contends are false and misleading.

                 (b)     Each of the Individual Defendants were provided with or had unlimited access

  to copies of the Proxy Statement and other statements alleged by plaintiff to be misleading prior to

  and/or shortly after these statements were issued and had the ability to prevent the issuance of the

  statements or cause the statements to be corrected.

                 (c)     The Proxy Statement details the Individual Defendants’ involvement in

  negotiating, reviewing, and approving the Merger Agreement and preparation of the Proxy

  Statement.

                 (d)     The Proxy Statement contains the unanimous recommendation of each of the

  Individual Defendants to approve the Acquisition. They were thus directly involved in the making

  of this document.

                 (e)     By reason of such conduct, the Individual Defendants are liable pursuant to

  Section 20(a) of the 1934 Act.

          120.   Genesys (including Parent, Merger Sub, Lux 3, Holdings I, and Holdings II) are a

  controlling person of Interactive and the Individual Defendants within the meaning of Section 20(a)

  of the 1934 Act. By reason of its contractual obligations with Interactive, the Individual Defendants,

  Genesys possessed control over Interactive and the Individual Defendants.

                 (a)     As a condition of the Merger Agreement, and pursuant to the Support

  Agreements, defendant Brown irrevocably appointed Parent and his proxy to vote his shares of the

  Company’s common stock in favor of the Acquisition.

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                 (b)     Interactive and the Individual Defendants were required by Section 5.1 of the

  Merger Agreement to refrain from changing the operation of the Company’s business or engaging in

  a variety of activities without the express written consent of Genesys.

                 (c)     Pursuant to Section 5.1(a) of the Merger Agreement, Interactive was not

  permitted to change the record date for the shareholder meeting on the Acquisition without the Buyer

  Defendants’ prior written consent.

                 (d)     Pursuant to Section 5.4 of the Merger Agreement, Interactive had to prepare

  the Proxy Statement “in consultation” with Parent. Moreover, the Company was obligated to give

  Parent the opportunity to comment on the Proxy Statement, and Interactive had to consider any

  comments made by Parent concerning the Proxy Statement. The Merger Agreement also required

  Interactive to involve Parent in any communications it might have with the SEC concerning the

  Proxy Statement.

                 (e)     By reason of such conduct, Parent, Merger Sub, Lux 3, Holdings I, and

  Holdings II are liable pursuant to Section 20(a) of the 1934 Act.

                                       PRAYER FOR RELIEF
          WHEREFORE, Plaintiff demands injunctive and monetary relief, in Plaintiff’s favor and in

  favor of the Class and against defendants, as follows:

          A.     Determining that this action is a proper class action and certifying Plaintiff as class

  representatives under Rule 23 of the Federal Rules of Civil Procedure and Plaintiff’s counsel as Lead

  Counsel;

          B.     Declaring that defendants violated the federal securities laws as alleged herein by

  disseminating the Proxy Statement in connection with the Acquisition, which contains materially

  false and misleading information about the Acquisition;

          C.     Rescinding the Acquisition, or, in the alternative, if rescission is not feasible,

  awarding rescissory damages;

          D.     Awarding Plaintiff and the Class damages;



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          E.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

  attorneys’ and experts’ fees; and

          F.     Granting such other and further equitable and monetary relief as this Court may deem

  just and proper.

          G.

                                           JURY DEMAND
          Plaintiff demands a trial by jury.
  DATED: February 27, 2017                       ROBBINS GELLER RUDMAN
                                                  & DOWD LLP
                                                 DAVID T. WISSBROECKER
                                                 EDWARD M. GERGOSIAN


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                                     CERTIFICATE OF SERVICE

          I hereby certify that on February 27, 2017, I authorized the electronic filing of the foregoing

  with the Clerk of the Court using the CM/ECF system which will send notification of such filing to

  the e-mail addresses denoted on the attached Electronic Mail Notice List, and I hereby certify that I

  caused to be mailed the foregoing document or paper via the United States Postal Service to the non-

  CM/ECF participants indicated on the attached Manual Notice List.

          I certify under penalty of perjury under the laws of the United States of America that the

  foregoing is true and correct. Executed on February 27, 2017.

                                                      s/ DAVID T. WISSBROECKER
                                                      DAVID T. WISSBROECKER

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Mailing Information for a Case 1:16-cv-03161-SEB-TAB
TRAHAN v. INTERACTIVE INTELLIGENCE GROUP INC.,
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Manual Notice List

The following is the list of attorneys who are not on the list to receive e-mail notices for this case (who
therefore require manual noticing). You may wish to use your mouse to select and copy this list into
your word processing program in order to create notices or labels for these recipients.
• (No manual recipients)




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